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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF COLORADO

 In re: MATTHEW CURTIS WITT,           )                     Case No.
                                       )                     17-17630-MER
                     Debtor.           )
 _____________________________________ )
                                       )
 REKON, LLC,                           )                     Chapter 7
                                       )
                     Plaintiff,        )
                                       )
 v.                                    )                     Adversary Proceeding No.
                                       )                     17-1548-MER
 MATTHEW CURTIS WITT,                  )
                                       )
                     Defendant.        )


 ORDER GRANTING DEFENDANT’S MOTION TO VACATE PORTION OF ORDER
                        OF JUNE 24, 2019


       THIS MATTER having come before the Court on the Defendant’s Motion to Vacate the
Portion of this Court’s Order of June 24, 2109 which directs that certain boxes of documents be
returned to the possession of Noel West Lane III, the Court having reviewed the Motion, and the
Court being otherwise sufficiently advised, it is hereby
        ORDERED the Motion is GRANTED and that portion of this Court’s Order of June 24,
2019 which directed that the boxes of documents be returned to the custody of Noel Lane West III
is hereby vacated, to be reconsidered after the ruling of the State Court.
       DATED this 16th day of July, 2019.




                                            BY THE COURT


                                            ____________________________________
                                            United States Bankruptcy Court Judge
